Case 1:19-cv-11117-JMF Document 14 Filed 02/10/20 Page 1 of 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

LINDA SLADE, Individually and as the representative
of a class of similarly situated persons

Plaintiff,
Vv.

LG HOUSEHOLD AND HEALTH CARE AMERICA,
INC, d/b/a Belif,

Defendant.

 

Index No. 1:19-cv-11117 (IMF)

STIPULATION OF
DISMISSAL WITH
PREJUDICE

IT IS HEREBY STIPULATED AND AGREED, by and between the parties, by their

undersigned counsel, that the above-captioned action be dismissed in its entirety with prejudice

and without costs or attorneys’ fees to any party against the other, pursuant to Rule 41 (a) of the

Federal Rules of Civil Procedure.

Dated: New York, New York
February 4, 2020

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